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                   Exhibit 16
                               Case 3:16-cr-00411-VC Document 116-16 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                    8/22/17, 3)24 PM


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  Inbox (9999+)
  Drafts (228)
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  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                       10/12/12 at 12:57 PM     best new
  Archive
                                        To Devin Standard                                                                                       sedans
  Spam (42)                             Hi Devin,                                                                                               for 2017?
                                        Before we look into this, which is likely to require some quality concessions, I need to know what
  Trash
                                        cost benefit these concessions will produce. Also, we would like to sell some types of thermal             Search Now
  Smart Views                           cameras in Europe and would like to know if your company is interested in supplying non-ITAR
    Important                           lenses for them, otherwise I will have them designed and then made for us in China or Singapore.
    Unread
                                        Best wishes, Naum
    Starred
    People
    Social
                                        From: Devin Standard <Devin.Standard@Janostech.com>
    Shopping                            To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Travel                              Sent: Friday, October 12, 2012 8:26 AM
    Finance                             Subject:
    silverman
                                        Hi Naum:
    mseymour
    bartfield                           A*ached are two plots showing the diﬀerence with non-mil spec lenses(S<ll ITAR).
    montgomery                          Tim used our mechanical tolerances but changed the op<cal tolerances.
    seymour
                                        Please conﬁrm acceptability.
    rosas
    cheo                                Rgds,
  Folders
    Drafts
                                        Devin S. Standard
    Notes                               Senior Account Manager
    Sent Messages                       Janos Technology
    untitled                            The Power of Focus
                                        WWW.JanosTech.com
  Sponsored                             Devin.Standard@Janostech.com
                                        (603) 313-2502




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